EXHIBIT “B”
                                                                                    Electronically
                                                                                        FILED
                                                                     by Supeiioi Court dfCalifddiid, County of Sail Mateo
                                                                  ON                 5/7/2020
     DAVID N. BARRY, ESQ. (SBN 219230)                               8y.         /s/ Mia Marlowe
 1   THE BARRY LAW FIRM                                                                Deputy Clerk


2    11845 W. Olympic Blvd., Suite 1270
     Los Angeles, CA 90064
 3   Telephone: 310.684.5859
     Facsimile: 310.862.4539
4
     Attorneys for Plaintiff, DAVID COX
 5
 6
 7
 8                      SUPERIOR COURT OF THE STATE OF CALIFORNIA
 9
                      FOR THE COUNTY OF SAN MATEO - HALL OF JUSTICE
10                                                                         20-CIV-01935
                                                          Case No.
11   DAVID COX, an individual.
12
                           Plaintiff,                     COMPLAINT FOR DAMAGES
13
             V.
14
15
      FCA US, LLC, A Delaware Limited
16
      Liability Company; and DOES 1 through 20,
17                                                        Assignedfor all purposes to the Hon.
      inclusive,                                          in Dept.
18
19
                            Defendants.
20
21
22
            1.     Breach of Implied Warranty of Merchantability under the Song-Beverly Warranty Act.
23
            2.     Breach of Express Warranty under the Song-Beverly Warranty Act.
24
            3.     Fraudulent Inducement - Concealment.
25
26
     JURY TRIAL DEMANDED.
27

28


                                                  -1-
                                        COMPLAINT FOR DAMAGES
 1          PLAINTIFFS, DAVID COX, an individual, an individual, hereby allege and complain as
2    bllows:
3           GENERAL ALLEGATIONS COMMON TO ALL CAUSES OF ACTION
4           1. Defendant, FCA US, LLC (hereinafter referred to as "Manufacturer”), is a limited
5    liability company doing business in the County of San Mateo, State of California, and, at all times
6    relevant herein, was/is engaged in the manufacture, sale, distribution, and/or importing of Ram
 7
     motor vehicles and related equipment.
 8
            2. The true names and capacities, whether individual, corporate, associate, or otherwise, of
 9
     the Defendants, Does 1 through 20, inclusive, are unknown to Plaintiff who therefore sues these
10
     Defendants by such fictitious names. Plaintiff will seek leave to amend this Complaint to set forth
11
     their true names and capacities when they have ascertained them. Further, Plaintiff is informed and
12
     i believes, and thereon alleges, that each of the Defendants designated herein as a “Doe” is
13
     responsible in some manner for the events and happenings herein referred to and caused injury and
14
     damage to Plaintiff as herein alleged.
15
            3. Plaintiff is informed and believes, and thereon alleges, that at all times herein mentioned.
16
17   Defendants, and each of them, were the agents, servants, and/or employees of each of their Co-

18   Defendants. Plaintiff is informed and believes, and thereon alleges, that in doing the things

19   hereinafter alleged Defendants, and each of them, were acting in the course and scope of their

20   employment as such agents, servants, and/or employees, and with the permission, consent,
21   knowledge, and/or ratification of their Co-Defendants, principals, and/or employers.
22             4. On or about February 14, 2013, defendants Manufacturer and Does 1 through 20
23   inclusive, manufactured and/or distributed into the stream of commerce a new 2013 Jeep Wrangler,
24   VIN 1C4GJWBGXDL583058 (hereinafter referred to as the “Vehicle”) for its eventual
25
     sale/purchase in the State of California.
26             5. On or about March 14, 2013, Plaintiff purchased, for personal, family, and/or household
27
     purposes, the new subject Vehicle from the Seller. The purchase agreement is in the possession of
28
     Defendants.

                                                       -2-
                                       COMPLAINT FOR DAMAGES
 1          6. The subject Vehicle was/is a “new motor vehicle” under the Song-Beverly Warranty Act.
2           7. Along with the purchase of the Vehicle, Plaintiff received written warranties and other
3    express and implied warranties including, but not limited to, warranties from Manufacturer and
4    Seller that the Vehicle and its components would be free from all defects in material and
5    workmanship; that the Vehicle would pass without objection in the trade under the contract
6    description; that the Vehicle would be fit for the ordinary purposes for which it was intended; that
 7
     the Vehicle would conform to the promises and affirmations of fact made; that Defendants, and
 8
     each of them, would perform any repairs, alignments, adjustments, and/or replacements of any
 9
     parts necessary to ensure that the Vehicle was free from any defects in material and workmanship;
10
     that Defendants, and each of them, would maintain the utility of the Vehicle for Three (3) years or
11
     36,000 miles under the basic warranty and Five (5) years or 60,000 miles under the powertrain
12
     warranty and would conform the Vehicle to the applicable express warranties. (A copy of the
13
     written warranty is in the possession of the Defendants).
14
            8. Plaintiff has duly performed all the conditions on Plaintiff’s part under the purchase
15
     agreement and under the express and implied warranties given to plaintiff, except insofar as the
16
17   acts and/or omissions of the Defendants, and each of them, as alleged herein, prevented and/or

18   excused such performance.

19          9. Plaintiff has delivered the Vehicle to the Manufacturer’s authorized service and repair

20   facilities, agents and/or dealers, including Seller, on at least Three (3) occasions resulting in the
21   Vehicle being out of service by reason of repair of nonconformities. Repair Orders/Invoices are in
22   the possession of Defendants.
23           10. By way of example, and not by way of limitation, the defects, malfunctions, mis
24   adjustments, and/or nonconformities with Plaintiffs Vehicle include the following: Plaintiff has
25   submitted the subject Vehicle for defects and malfunctions, specifically for issues with Recall N28
26   for Transmission Oil Cooler, Recall P61 for Power Mirror Wiring, Recall U03 for Passenger
27
     Airbag Inflator, inoperable horn, verified right rear axle leak, and engine issues.
28
     ///


                                                       -3-
                                      COMPLAINT FOR DAMAGES
 1          11. Each time Plaintiff delivered the nonconforming Vehicle to a Manufacturer-authorized
2    service and repair facility. Plaintiff notified Defendants, and each of them, of the defects,
3    malfunctions, mis adjustments, and/or nonconformities existent v^th the Vehicle and demanded
4    that Manufacturer or its representatives repair, adjust, and/or replace any necessary parts to
 5   conform the Vehicle to the applicable warranties.
 6          12. Each time Plaintiff delivered the nonconforming Vehicle to a Manufacturer-authorized
 7
     service and repair facility. Defendants, and each of them, represented to Plaintiff that they could
 S
     and would conform the Vehicle to the applicable warranties, that in fact they did conform the
 9
     Vehicle to said warranties, and that all the defects, malfunctions, mis adjustments, and/or
10
     nonconformities have been repaired; however. Manufacturer or its representatives failed to
11
     conform the Vehicle to the applicable warranties because said defects, malfunctions, mis
12
     adjustments, and/or nonconformities continue to exist even after a reasonable number of attempts
13
     to repair was given.
14
             13. The amount in controversy exceeds TWENTY-FIVE THOUSAND DOLLARS
15
     ($25,000.00), exclusive of interest and costs, for which Plaintiff seeks judgment against
16
17   Defendants, together with equitable relief In addition. Plaintiff seeks damages from Defendants,

18   and each of them, for incidental, consequential, exemplary, and actual damages including interest,

19   costs, and actual attorneys’ fees.
20                          The Totally Integrated Power Module (TIPM) Defect

21        14.       The Subject Vehicle was factory-equipped with a Totally Integrated Power Module

22   (“TIPM”) which is located under the hood in the vehicle engine compartment. FCA US LLC

23   equipped the Subject Vehicle with a TIPM that FCA US LLC refers to as the “TIPM 7.”

24       15. The TIPM is the chief component in the Subject Vehicle’s power distribution systems and

25   consists of a computer, relays, fuses, and controls. The TIPM provides the primary means of

26   voltage distribution and protection for the entire vehicle and FCA US LLC acknowledges that the

27   TIPM is intended to provide safe, reliable, and centralized distribution of power to the Subject

28   Vehicle’s electrical systems.
         16. The electrical systems that receive power distributed by the TIPM include the vehicles’
                                                     -4-
                                          COMPLAINT FOR DAMAGES
 1   safety systems, security system, ignition system, fuel system, electrical powertrain, and the
2    vehicles’ comfort and convenience systems. These systems control components including the air
 3   bags, fuel pump, windshield wipers, headlights, taillights, turn signals, and power windows and
 4   doors.
 5       17. The TIPM installed in the Subject Vehicle is defective and thus fails to reliably control and

 6   distribute power to various vehicle electrical systems and component parts.
 7       18. As a result of the TIPM defect, the Subject Vehicle has had the following issues:

 8              a. The check engine light comes on frequently;
 9              b. Multiple electrical issues; and,
10              c. Numerous recalls.
11       19. The TIPM in the Subject Vehicle is likely to cause a variety of electrical issues such as a
12   loss of headlight function, and unexpected distractions, such as the vehicle’s horn or alarm

13   sounding while on a roadway, which may each increase the risk of injury for the driver, passengers,
14   or others on the roadway. The defective TIPM imposes a substantial safety risk to the operator of
15   the vehicle and surrounding drivers.
16       20. FCA US LLC has instructed employees in multiple divisions to investigate the TIPM
17   defect As recently as spring 2012, teams were investigating vehicles equipped with the TIPM-7

18   not starting, having difficulty starting, and stalling, attributed to a malfunctioning fuel pump relay
19   integral to the TIPM printed circuit board.
20                                    FCA US LLC’s Knowledge of the TIPM Defect

21       21. FCA US LLC had superior and exclusive knowledge of the TIPM defects, and knew or

22    should have known that the defects were not known by or reasonably discoverable by Plaintiff

23    before Plaintiff purchased or leased the Subject Vehicle.
24       22. FCA US LLC’s knowledge of the TlPM-7 defects since at least 2007 is demonstrated by
25   the numerous consumer complaints submitted to FCA US LLC and to NHTSA, multiple TIPM-

26   related recalls and technical service bulletins, two NHTSA investigations into TIPM-related
27   complaints, FCA US LLC’s exhaustive pre-release vehicle testing, and FCA US LLC’s exclusive

28   access to post-sale data about the performance of and repairs made to its vehicles. The use of
     limited recalls and TSBs as stop-gap measures demonstrates a pattern of concealment and improper
                                                      -5-
                                      COIMPLAINT FOR DAMAGES
 1   denial of the TIPM defect by FCA US LLC.
2       23. FCA US LLC vehicles have been plagued with severe TIPM problems for the past decade.

3    As a result, FCA US LLC has initiated multiple TIPM-related recalls to address safety or emissions

4    concerns.
 5       24. An automotive manufacturer service bulletin typically takes time to develop and issue

 6   because the manufacturer needs to identify and understand the problem, develop and test the new

 7   repair instructions, and draft and finalize the bulletin before distributing it to dealerships.

 8       25. The defect is so widespread that TIPM 7 replacement parts have often been on national

 9   backorder, with drivers reporting from 2011 to 2014 that they had to wait weeks or months to have

10   their TIPMs replaced. In the meantime, FCA US LLC dealerships and auto-technicians are

11   advising many drivers not to drive their vehicles until the TIPM is replaced, due to safety risks.

12                                               hlHTSA Recall 05V-461

13                       {Defective TlPM-6 Causing Vehicles to Roll Away Wilhout IVarninsl

14       26. In October 2005, FCA US LLC recalled model year (“MY”) 2006 Dodge Ram 1500 4x4

15   /ehicles to reprogram (i.e., “flash”) the TIPM-6 with new software to cure a safety-related defect.

16       27. The defect was that the TIPM-6 could have incorrect transfer case calibration set points. As

17   a consequence, the transfer case could shift into neutral without warning and, if the parking brake

18   were not engaged, the vehicle could roll away.
19       28. FCA US LLC admitted that because of the defect, “the vehicle could roll away with the

20   transmission in the Park position and cause a crash without warning.”
21       29. This defect shows that FCA US LLC was aware of the dangerous, life-threatening

22   consequences of a defective TIPM. Yet, despite this knowledge, FCA US LLC manufactured the

23   next generation TIPM, the TIMP-7, without resolving the module’s propensity to cause life-

24   threatening crashes.
25                              NHTSA Investigation PE07-027 /NHTSA Recall 07V-29]

26                                      (Defective TIPM Causing Engine Stalline)

27       30. In May 2007, NHTSA’s Office of Defect Investigation (“ODI”) opened Preliminary

28   Evaluation PE07-027.
         31. The ODI had received 53 consumer complaints alleging incidents of engine stalling in MY

                                                  -6-
                                        COMPLAINT FOR DAMAGES
 1   2007 Jeep Wrangler vehicles, prompting the evaluation. Most of the stalls occurred suddenly, and
2    in 12 of them a loss of electrical power causing a loss of vehicle lighting coincided with the stalls.
 3      32. The purpose of NHTSA’s evaluation was to assess the frequency, scope, and safety

 4   consequences of the defect in the subject vehicles.
 5      33. The ODI agreed to close the evaluation when, on July 3, 2007, FCA US LLC agreed to

 6   recall approximately 80,894 MY 2007 Jeep Wrangler and MY 2007 Dodge Nitro vehicles
 7   (NHTSA Recall 07y-291).
 8       34. To remedy the stalling problem, FCA US LLC agreed to reprogram the TIPM in the subject
 9   vehicles with revised software. FCA US LLC admitted that there was an “issue” with the TIPM
10   “that could result in an engine stall while driving,” which could “cause a crash without warning.”
11       35. At the time the evaluation as closed, the ODI had received 230 consumer complaints, two
12   of which involved crashes and injuries. FCA US LLC had directly received 279 complaints by this
13   time.
14       36. This recall did not cure all of the TIPM defects in the 2007 Dodge Nitro, as demonstrated

15   by the fact that the 2007 Dodge Nitro was recalled again in November 2009 for a safety defect

16   concerning TIPM-related windshield wiper problems.
17       37. Because the same TIPM was installed in the MY 2007 Dodge Nitro as in the Vehicle, this

18   recall demonstrates FCA US LLC’s knowledge of the defective TIPM in the Vehicle.
19       38. This recall did not resolve the stalling problems caused by the faulty TIPM, as

20   demonstrated by a consumer complaint submitted to NHTSA on February 7, 2008 in which the
21   complainant describes stalling in a MY 2007 Jeep Wrangler after having the recall repairs, and
22   subsequently being told by a dealership service manager that the TIPM had to be replaced to cure
23   the stalling problem (NHTSA ID No. 10217364, included in its entirety below.)
24                                         Emissions Recall 2007-15-E (G23}

25                                   fPrivabilitv Concerns Resulting from TlPM-7)

26       39. In June 2007, FCA US LLC released an emission recall on certain vehicles equipped with

27   the TIPM-7. The recall was conducted to reprogram the vehicles’ TIPM to prevent a condition

28   where during some trips the vehicles would have only a single forward gear ratio available. FCA
     US LLC admitted that “[bjoth emissions and drivability would be affected when vehicle is stick in
                                                        -7-
                                       COMPLAINT FOR DAMAGES
1    one forward gear.”
2                                        Technical Service Bulletin 08-018-08

3                                tPefeclive TIPM Causine Inability to Record Data)

4        40. In May 2008, FCA US LLC distributed TSB 08-018-08 to its nationwide network of

5    luthorized dealers and service providers.
6        41. This TSB is not publicly available, either in summary form or in its entirety, because

 7   neither FCA US LLC nor NHTSA classified the TIPM defect addressed in the TSB as a safety

 8   defect.
 9       42. The TSB covered several 2008 MY vehicles equipped with a TIPM-7.

10       43. The TTPM defect purportedly resolved by this TSB involved data recording - specifically,

11   the inability to record data because of TIPM software problems.
12       44. The TSB states that “[d]ata recording is a valuable tool that provides assistance in

13   diagnosing difficult to duplicate customer concerns. Some of the[se] models... were incapable of

14   utilizing the data recording features due to software compatibility concerns within the TIPM.” In

15   other words, FCA US LLC admitted internally that owners and lessees of these vehicles would

16   suffer mechanical problems with their vehicles, take the vehicles in for repair, and be told that the

17   onboard computer did not show that any mechanical “event” or “problem” had occurred. Any

18   reasonable consumer who has taken her car in for repairs would view this as a maddening scenario.

19       45. It is troubling that this TIPM defect has not been classified as a safety defect. Although the

20   failure to record data itself does not appear to cause a loss of vehicle control and is probably

21   unnoticed by the driver, the failure to record real-time data could fail to record the manifestation of

22   a safety defect, such as stalling, that would present a life-threatening safety hazard. FCA US

23   LLC’s, as well as consumers’, ability to detect the manifestation of a safety defect was severely

24   compromised by the inability to record data caused by the defective TIPM.

25       46. Because the TIPM installed in these vehicles is the same as in the Vehicle, FCA US LLC

26    was aware - yet again - that the TIPM installed in the Vehicle was defective, and chose a stop-gap

27    remedy on a limited set of vehicles.
28       47. Because the TSB was not publicly available, owners and lessees of these vehicles were

      unaware of the issue and many of them likely did not obtain the TIPM repair described in the TSB.
                                                 -8-
                                       COMPLAINT FOR DAMAGES
 1      48. By proceeding with a non-public TSB instead of a publicly-announced safety recall, FCA
2    US LLC chose to remain willfully blind about the manifestation of safety defects that a properly

3    functioning TIPM would have enabled the data recorder to record.
4       49. Rather than disclose the TIPM problem and offer an adequate solution, FCA US LLC

 5   attempted to conceal it by advising its network of authorized dealers and service providers to

6    update and/or flash the TIPM instead of replacing it.
 1                                               NHTSA Recall 09V-438

 8                      {Defective TIPM Windshield Winer Relays Increasing Risk ofa Cr_ashl

 9       50. In November 2009, FCA US LLC notified NHTSA of a safety defect affecting the

10   windshield wiper system on certain vehicles equipped vwth the TIPM-7.
11       51. The TIPM was defective in that a relay controlling the wipers could short out, causing the

12   wipers to fail, in turn causing impaired driver visibility increasing the risk of a crash.

13       52. FCA US LLC recalled 84,680 vehicles to reprogram the TIPM.
14       53. Because the TIPM in the vehicles subject to this recall and in the Vehicle is the same, this

15   recall demonstrates that FCA US LLC knew, at the time that Plaintiff purchased or leased the

16   Vehicle, that the TIPM was defective.
17                                        Technical Service Bulletin 08-053-11

18                     {Defective TIPM Causing Failure to Start and Intermittent Alarm Sound)

19       54. In August 2011, FCA US LLC distributed TSB 08-053-11 to its nationwide network of

20   authorized dealers and service providers.
21       55. This TSB is not publicly available, either in summary form or in its entirety, because

22   neither FCA US LLC nor NHTSA have classified the TIPM defect addressed in the TSB as a

23   safety defect.
24       56. This TSB covered numerous vehicles equipped with the TIPM-7.
25       57. The TIPM was defective in that the vehicle theft alarm would intermittently sound for no

26   apparent reason and the vehicles would fail to start.
27       58. The TSB’s purported fix was to flash reprogram the TIPM with new software.

28       59. It is troubling that this TIPM defect has not been classified as a safety defect. If a vehicle
     alarm sounds during regular operation of the vehicle, it could be so jarring and distracting as to
                                                  -9-
                                        COMPLAINT FOR DAMAGES
 1   cause the driver to lose control of the vehicle. Once again, FCA US LLC chose to address this
2    problem internally rather than conduct a safety recall which would have alerted its customers,

3    NHTSA, and the public to the ongoing, repeated safety problems with the TIPM.
4       60. Because the TIPM installed in these vehicles is the same as in the Vehicle, FCA US LLC

5    was aware- once again—that the TIPM installed in the Subject Vehicle was defective, and again
6    chose an inadequate stop-gap remedy on a limited set of vehicles.
 7      61. Rather than disclose the TIPM problem and offer an adequate solution, FCA US LLC

 S   attempted to conceal it by advising its network of authorized dealers and service providers to

 9   update and/or flash the TIPM instead of replacing it.
10                                              NHTSA Recall 13V-282

11                      (DefecUve TIPM Causine Non-Deplovtnenf ofActive Head Reslramtsl

12       62. In July 2013, FCA US LLC initiated yet another TIPM-related safety recall. FCA US LLC

13   notified NHTSA that the airbag warning lamp would incorrectly illuminate due to an electrical

14   overstress condition within the Occupant Restraint Controller Module (“ORCM”), which would in

15   turn cause the active head restraints to not deploy in certain rear-impact collisions, thereby
16   increasing the risk of injury to a front seat occupant.
17       63. FCA US LLC recalled approximately 442,481 vehicles to flash the TIPM or replace the

18   ORCM, as required. The TIPM was flash reprogrammed in certain vehicles equipped with the

19   TIPM-7.
20       64. Once again, this recall evidences FCA US LLC’s knowledge of the defective TIPM and

21   shows FCA US LLC’s repeated attempts to employ inadequate piecemeal remedies on the Subject

22   Vehicle.
23                             Center for Auto Safety Submits Defect PelHion lo NHTSA

24       65. On August 21, 2014, the Center for Auto Safety (“CAS”) submitted a defect petition to

25   NHTSA, requesting that NHTSA “initiate a safety defect investigation into failures associated with

26   the [TIPM] installed in FCA US LLC SUVs, trucks, and vans beginning in the 2007 model year.”

27   The petition noted that TIPM failures result in a variety of safety-related problems, “many of which

28   have the potential for destructive results,” such as stalling, airbag non-deployment, failure of fuel-
     pump shutoff, and vehicle fires.
                                                 -10-
                                        COMPLAINT FOR DAMAGES
 1       66. CAS had received at least 70 complaints related to the TIPM in FCA US LLC vehicles, and
 2   a stall/no-start condition was the most reported outcome of TIPM failure. Seventeen of these
 3   complaints report engine stalling and 34 report a failure to start. Two of them report smoke and one
4    reports a vehicle fire.
 5       67. The CAS petition asserts that FCA US LLC’s previous TIPM-related recalls were
 6   insufficient “to address the TIPM problem widespread throughout FCA US LLC’s fleet, instead
 7   focusing on a highly limited set of vehicles and circumstances.”
 8       68. Plaintiff has suffered the consequences of the TIPM failure described by CAS, and Plaintiff

 9   agrees with CAS’s characterization of the TIPM problem as widespread throughout FCA US
10   LLC’s fleet and in the Vehicle.
11                                              NHTSA Recall J4V^530
12                                  fFailure ofFuel Pump Relay IVifhin ihe TIPM)
13       69. On September 3, 2014, FCA US LLC notified NHTSA of yet another TIPM-related safety
14   defect. This time, the fuel pump relay within the TIPM could fail, causing stalling without warning
15   or failure to start. In FCA US LLC’s words, “[t]he vehicle may intermittently or permanently: not
16   start, not start the first time, not stay running upon start, stall, or the fuel pump may stay energized
17   upon vehicle shutdown,” and “[a]n intermittent or failed fuel pump relay could cause the engine to

18   stall while driving and cause a crash without a warning.”
19       70. The remedy under the recall was to install a new fuel pump relay external to the TIPM.
20   FCA US LLC may have decided that resolving the problem within the TIPM was not feasible,
21   given the extensive defects and problems within the TIPM.
22       71. The recall covered 188,723 vehicles equipped with the TIPM-7.
23       72. Yet again, this recall demonstrates FCA US LLC’s knowledge that the TIPM in the Subject
24   Vehicle was defective. And again, FCA US LLC chose to implement an inadequate piecemeal
25   remedy.
26                                NHTSA Agrees to Evaluaie the CAS Defect Peiiiion

27       73. On September 8, 2014, the CAS supplemented its defect petition with additional consumer

28   complaints about the TIPM. In the supplement, the CAS identified 24 crashes from NHTSA’s
     Early Warning Reporting (“EWR”) database that the CAS believes may be related to TIPM failure.
                                                -11-
                                       COMPLAINT FOR DAMAGES
 1   Crash reports in the EWR database are submitted by the vehicle manufacturer, demonstrating FCA
 2   US LLC’s awareness of these crashes.
 3      74. On September 25, 2014, NHTSA’s ODI opened Investigation DP14-004 to evaluate the
 4   CAS’s defect petition. The investigation will “review allegations of [TIPM] failures resulting in
 5   engine stall while driving, airbag non-deployment incidents, unintended acceleration and/or vehicle
 6   fire in certain . .. vehicles . . . equipped with TIPM-7 modules and manufactured by FCA US LLC
 7   Group LLC[.]”
 8      75. The ODI investigation covers approximately 4,800,000 vehicles equipped with the TIPM-7.
 9      76. On September 30, 2014, the CAS submitted another supplement to its defect petition,
10   including approximately 25 new consumer complaints about the TIPM that it had received.
11      77. With CAS’s submission of its defect petition and supplements, and NHTSA’s opening of
12   the investigation, FCA US LLC is aware of all of the TIPM-related complaints made to the CAS.
13   This is in addition to all of the TIPM-related complaints made to NHTSA about which FCA US
14   LLC is, and has been, aware. At the very least, FCA US LLC has constructive knowledge of the
15   consumer complaints submitted to NHTSA, which are publically available on the NHTSA website.
16      78. In response to a request for information by NHTSA, FCA US LLC stated the following in a
17   December 12, 2014 letter to NHTSA:
18              a. FCA US LLC had identified 709 reports which relate or may relate to the TIPM in
19                  the subject vehicles, representing 199 unique vehicle identification numbers
20                  (“VlNs”).
21              b. FCA US LLC had identified 605 consumer complaints, made to FCA US LLC,
22                  which relate or may related to the TIPM in the subject vehicles, representing 189
23                  unique VlNs. FCA US LLC did not specify when it received these complaints.
24              c. FCA US LLC had identified 104 Field Reports which relate or may relate to the
25                  TIPM in the subject vehicles, representing 65 unique VlNs. FCA US LLC did not
26                   specify when it performed these field reports.
27              d. FCA US LLC had identified 207 paid warranty claims related to repair or

28                   replacement of the TlPM-7 module, representing 126 unique VlNs.
         79. In 2013, FCA US LLC conducted a safety recall of 2011 and 2012 model year Dodge Nitro
                                               -12-
                                      COMPLAINT FOR DAMAGES
 1   and Jeep Liberty vehicles, through which it would “flash” the vehicles’ TIPM. The recall was
 2   prompted by the fact that the vehicles could experience illuminated airbag warning lamps and
 3   restraints not deploying in collisions.
 4       80. In that letter, FCA US LLC stated also that it had identified zero reports of crash, fire,
 5   injury, or fatality which relates or may relate to the TIPM in the subject vehicles. However, by the
 6   date of that letter consumers had submitted to NHTSA at least six reports describing crashes or
 7   fires in the relevant vehicles, rendering FCA US LLC’s statement erroneous if not intentionally
 $   misrepresentative:
 9              a. On September 7, 2013, a consumer reported that “the TIPM fuse exploded” in a MY
10                  2011 Jeep Grand Cherokee (NHTSA ID No. 10542447).
11              b. On March 19, 2014, a consumer reported that the “wires and TIPM started melting
12                  and smoking and burned” in a MY 2012 Dodge Ram 5500 (NHTSA ID No.
13                   10573426).
14              c. On March 19, 2014, a consumer reported that the TIPM in a MY 2012 Dodge Ram
15                  5500 had caught fire for the second time in a week and that the consumer had taken
16                  the truck to a dealership after the first fire (NHTSA ID No. 10573471).
17              d. On June 5, 2014, a consumer reported that a five-car pileup occurred immediately
18                  behind her because she stalled in the middle of the road due to a faulty TIPM in a
19                  MY 2011 Dodge Durango (NHTSA ID No. 10596370).
20              e. On September 18, 2014, a consumer reported that her MY 2011 Durango was
21                  “smoking” and that a dealership diagnosed the problem as an electrical short in the
22                  TIPM (NHTSA ID No. 10637171).
23               f. On October 30, 2014, a consumer reported a crash caused by a stall in a MY 2008
24                  Jeep Wrangler (NHTSA ID No. 10651411).
25                                             Consumer Complaints lo NtTFSA
26       81. FCA US LLC has knowledge of the fact that the defective TIPMs installed in the Vehicle is
27   prone to sudden failure because of the numerous complaints that consumers have made to NHTSA.
28       82. Owners of vehicles equipped with a TIPM-7 have submitted at least 240 complaints to
     NHTSA about electrical problems including stalling, headlights turning off, and failure to start—
                                                        -13-
                                       COMPLAINT FOR DAMAGES
 1   most, if not all, of which occurred with no warning whatsoever to the driver.
2        83. By the end of 2011, consumers had submitted over 100 complaints about the TIPM to
3    NHTSA.
4        84. Some of these complaints describe dangerous situations, indicating that FCA US LLC is
 5   putting the lives of consumers and their passengers at risk. When a defective TIPM suddenly fails
6    without warning, a driver loses the ability to safely operate their vehicle.
 7       85. Many of the complaints to NHTSA were made prior to the sale of the Vehicle to Plaintiff.
 8       86. For years, FCA US LLC has monitored drivers’ safety-related reports to the NHTSA,
 9   which can be viewed on the NHTSA’s website. There are several hundred complaints on the
10   NHTSA website and elsewhere online dating back to when the TIPM 7 was first introduced in
11   2007 model year FCA US LLC vehicles.
12       87. As early as 2008, drivers of vehicles equipped with the TIPM 7 started contacting the
13   NHTSA to complain that their vehicles were experiencing a host of electrical issues, including
14   uncontrollable activity of the windshield wipers, horn, and alarm system, and the headlights and
15   taillights not working. Drivers also complained that their vehicles would not start and that the

16   vehicles would stall without warning. By the end of 2011, over 100 drivers had complained to the
17   NHTSA that they had experienced some combination of these symptoms, and dealers were
18   diagnosing the problems as stemming from a defective TIPM, with some dealers saying the TIPM

19   was already on a nationwide backorder.
20                                              Pre-Release TesiinQ Data

21       88. FCA US LLC’s knowledge of the TIPM defect is also demonstrated by the fact that FCA
22   US LLC studied and tracked TlPM-related issues through exhaustive pre-release testing. In recent
23   years, FCA US LLC has tested models for millions of miles before their release. For example, FCA
24   US LLC employees put seven million miles on multiple 2011 Jeep Grand Cherokee test vehicles

25   before production. Given the speed and frequency with which the TIPM defect manifests, it is not

26   plausible that this testing would not have alerted FCA US LLC to the existence of the TIPM defect.
27   Only FCA US LLC. however, has access to its pre-release testing data.
28       89. FCA US LLC also receives data about how its vehicles are performing in the days, weeks,
     and months after they are sold. FCA US LLC collects information from both drivers and
                                                       -14-
                                       COMPLAINT FOR DAMAGES
 1   dealerships, including through complaints, warranty claims, replacement parts data, and other

2    aggregated data sources. FCA US LLC has exclusive access to this information also.
3       90. FCA US LLC is collecting old TIPM parts that have been replaced, in an effort to keep

4    those parts away from public scrutiny. FCA US LLC is requiring anyone who wants to purchase a

 5   new TIPM from FCA US LLC to agree to return to FCA US LLC the old TIPM that is being
6    replaced. This requirement affects non-FCA US LLC mechanics and private individuals who seek

 7   to keep the original TIPM parts for any reason, including but not limited to examining those parts
 8   for defects. In addition, the owners of these vehicles already have paid for the original TIPM parts,

 9   and should not have to give up their personal property in order to buy a replacement part; this

10   amounts to an abusive tactic.
11      91. Notwithstanding the history of TIPM problems in its vehicles, FCA US LLC chose to begin

12   installing the TIPM 7 in 2007 model year vehicles and continued to install the TIPM 7 into

13   vehicles through the 2014 model year.
14       92. Given the repeated, severe problems that plagued the TIPM in its vehicles, FCA US LLC

15   understood that the TIPMs posed a heightened risk of problems for consumers and FCA US LLC

16   was particularly aware of and on the lookout for early indicia of TIPM problems.
17                               FCA US LLC’s Failure to Disclose the TIPM Defect

18       93. FCA US LLC has never disclosed the TIPM defect to Plaintiff prior to the purchase of the

19   Subject Vehicle or at any point during ownership of the Subject Vehicle, and FCA US LLC has

20   never instructed its dealerships to disclose the TIPM defect to drivers or potential purchasers or
21   lessees of vehicles equipped with the TlPM-7.
22       94. The TIPM defect was not known or reasonably discoverable by the Plaintiff before

23   purchase or lease, or without experiencing the defect first hand and exposing themselves to an

24   unreasonable safety risk.
25       95. FCA US LLC has remained silent even as it issued a service bulletin, conducted internal

26   investigations, and saw the TIPM replacement parts go on national backorder and hundreds of

27   complaints for effected vehicles were lodged with the NHTSA.
28       96. FCA US LLC’s refusal to publically acknowledge the defect has created widespread
     confusion. FCA US LLC’s failure to notify consumers, dealerships, or auto-technicians prevents
                                                -15-
                                       COMPLAINT FOR DAMAGES
                                                                  ;




 1   the TIPM problem from being efficiently diagnosed. Drivers often do not realize that the symptoms
 2   they are experiencing are due to the TIPM defect or that prompt action is needed to ensure they do
 3   not experience stalling, headlight loss, or other dangerous symptoms in the future. Likewise, the
 4   lack of information makes it less likely that dealerships and auto-technicians will be able to
 5   diagnose and fix the TIPM defect, or advise Plaintiff about the dangers of driving the Subject
 6   Vehicle.
 7      97. As a result of FCA US LLC’s inaction and silence, Plaintiff was entirely unaware that
 8   Plaintiff purchased, and continues to drive, unsafe and unreliable vehicles. As FCA US LLC
 9   knows, a reasonable person would consider the TIPM defect important and would not purchase or
10   lease a vehicle equipped with the TIPM defect were the defect disclosed in advance, or would pay
11   substantially less for the vehicle.
12                     11 Statute of Limitations Periods are Tolled bv the Discovery Rule and the
13                                          Doctrine of Fraudulent Concealment
14       98.    FCA US LLC concealed the fact that the Subject Vehicle was equipped vrith a defective
15   TIPM7. FCA US LLC also concealed the major safety concerns related to the likely failures of the
16   TIPM7.
17       99.    FCA US LLC continued to misrepresent its ability to repair the Subject Vehicle in
18   conformity with the warranty throughout the warranty period.
19       100. At all relevant times, FCA US LLC was aware of the defects in the TIPM7.
20       101. As described in more detail above, as early as 2007, FCA US LLC began issuing
21   significant technical service bulletins as the result of NHTSA investigations to its authorized
22   dealers explaining the widespread issues with the TIPM7. At no point prior to the sale of the
23   vehicle to Plaintiff or during Plaintiffs ownership of the Subject Vehicle did FCA US LLC or an
24   authorized dealer ever inform Plaintiff of the ongoing irreparable defect.
25       102. FCA US LLC had a duty to disclose the concealed facts alleged above because FCA US
                                                                           I
26   LLC knew that Plaintiff did not know a material fact and further knew that such facts were not
27   readily accessible to the Plaintiff because FCA US LLC actively concealed those facts.
28        103. FCA US LLC had a duty to disclose the concealed facts alleged above because FCA US
     LLC was in a superior position of knowledge.
                                                       -16-
                                           COMPLAINT FOR DAMAGES
 1       104. FCA US LLC had a duty to disclose the concealed facts alleged above because FCA US
2    LLC actively concealed material facts in order to induce a false belief.
 3       105. FCA US LLC intended for Plaintiff to rely on those misrepresentations to conceal the
4    fact that the defective TIPM7 could not be repaired.
 5       106. Prior to the sale of the Subject Vehicle, and at all times thereafter, Defendant therefore
 6   failed to disclose the existence of the vehicle’s inherent defects to Plaintiff, and Defendant failed to
 7   disclose its inability to repair these inherent defects, which prevented the Subject Vehicle from
 8   conforming to its applicable warranties. In effect, after the sale of the Subject Vehicle, Defendant
 9   fraudulently concealed from purchasers, including Plaintiff, the fact that the dealers were not
10   properly repairing the defects to the TIPM7, and knew that the limited work that FCA US LLC had
11   authorized its dealerships to perform on those vehicles would not properly repair them.
12       107. On or around October 2015, Plaintiff received a letter in the mail from the settlement
13   administrator in a class action lawsuit informing Plaintiff that Plaintiff was a member of a class of
14   individuals for which a “class action settlement involving the Totally Integrated Power Module
15   (TIPM)” had been reached. That letter discussed a recall related to the TIPM, reimbursement for
16   past repairs related to the TIPM, and an extended warranty for a part effected by the TIPM.
17   Specifically, the letter stated: “The [class action] lawsuit claims that the Totally Integrated Power
18   Module (TIPM) installed in model-years 2011, 2012, and 2013 Dodge Durango and Jeep Grand
19   Cherokee vehicles is defective and poses a safety hazard. Plaintiff alleged that FCA US violated
20   the law by failing to disclose the defect to consumers and that it should be required to repair the
21   defect free of charge and reimburse consumers for the out-of-pocket expenses.” This was the
22   earliest date that FCA US LLC made any attempt to notify Plaintiff of any of the known defects in
23   the TIPM7. This date was the earliest date that Plaintiff could have had any sort of notice of the
24   facts which give rise to Plaintiffs fraud causes of action. FCA US LLC did not disclose any of this
25   information prior to the sale of the vehicle to Plaintiff or at any earlier date during ownership.

26   Accordingly, Plaintiff could not have discovered Plaintiffs claims related to fraud prior to October
27   2015. Plaintiff could not, through reasonable and diligent investigation, have discovered such on
28   an earlier date because of FCA US LLC’s fraudulent misrepresentations and concealment of the
     defects in the T1PM7 in Plaintiffs vehicle, as previously alleged above, and because of the
                                                -17-
                                       COMPLAINT FOR DAMAGES
 1   repeated false assurances of FCA US LLC and its service dealership agents made to Plaintiff, on
 2   which Plaintiff reasonably relied, that FCA US LLC had and would repair any problems with the
 3   transmission in Plaintiffs vehicle that occurred during the express warranty period. The statute of
 4   limitations for each of Plaintiffs claims against FCA US LLC was therefore tolled under the
 5   delayed discovery rule and the doctrine of fraudulent concealment until Plaintiff could have first
 6   discovered on or around October 2015 that FCA US LLC had concealed the irreparable defects in
 7   the TIPM7.
 8         108. Because FCA US LLC failed to disclose these foregoing facts to Plaintiff, all statute of
 9   limitations periods with respect to sale of the Subject Vehicle were tolled by the doctrines of
10   fraudulent concealment, the discovery rule, and/or equitable tolling. As alleged herein, FCA US
11   LLC wrongfully concealed the fact (1) that the TIPM7 had a irreparable defect that posed
12   significant safety risk to the drivers and the public; and (2) that its dealerships were making
13   inadequate repairs that were incapable of addressing the root cause of the Vehicle’s malfunctions.
14         109. Plaintiff did not discover the operative facts that are the basis of the claims alleged
15   herein because the facts were concealed in confidential and privileged documents, which a
16   consumer would not know about and could not obtain.
17         110. No amount of diligence by Plaintiff could have led to the discovery of these facts
18   because they were kept secret by FCA US LLC and, therefore. Plaintiff was not at fault for failing
19   to discover these facts.
20         111. Plaintiff did not have actual knowledge of facts sufficient to put her on notice. Plaintiff
21   did not know, nor could have known, about FCA US LLC’s inability to repair the defects in its
22   TIPM7 because, as alleged above, FCA US LLC kept this information highly confidential, and its
23   dealership assured Plaintiff that its repairs were effective.
24   ///

25   ///

26   ///

27   ///

28   ///



                                                -18-
                                       COMPLAINT FOR DAMAGES
 1                                         PLAINTIFF’S EXPERIENCES
 2         112.     On or around October 9, 2014, Plaintiff delivered the Subject Vehicle to an
 3   authorized FCA US LLC repair facility for repair. Plaintiff complained of hood would sound like is
 4   muffled, axle leak. The repair facility technicians performed Recall N28 for Transmission Oil
 5   Cooler, replaced high and low horn, replaced passenger rear axle seal. The Subject Vehicle was
 6   returned to Plaintiff, and the service manager at the authorized repair facility notified Plaintiff that
 7   the Subject Vehicle had been repaired and was safe to drive. Plaintiff reasonably relied on this
 8   representation by the manager of the expert repair technicians.
 9         113.     On or around March 7, 2018, Plaintiff delivered the Subject Vehicle to an
10   authorized FCA US LLC repair facility for repair and recalls. Plaintiff complained park brake
11   issues. The repair facility technicians performed Recall U03 for Passenger Airbag Inflator, . The
12   Subject Vehicle was returned to Plaintiff, and the service manager at the authorized repair facility
13   notified Plaintiff that the Subject Vehicle had been repaired and was safe to drive. Plaintiff
14   reasonably relied on this representation by the manager of the expert repair technicians.
15         114.     On or around September 19, 2018, Plaintiff delivered the Subject Vehicle to an
16   authorized FCA US LLC repair facility for repair. Plaintiff complained the rear axle seals would be
17   leaking. The repair facility technicians replaced both rear axle shaft seals, bearings and sleeves,
18   replaced both sides of the rear park brake shoes. The service manager at the authorized repair
19   facility notified Plaintiff that the Subject Vehicle had been repaired and was safe to drive. Plaintiff
20   reasonably relied on this representation by the manager of the expert repair technicians.
21   ///

22   ///

23   ///

24   ///

25   ///

26   ///

27   ///

28   ///



                                               .19-
                                      COMPLAINT FOR DAMAGES
                                             FIRST CAUSE OF ACTION
 1
                Breach of Implied Warranty of Merchantability under Song-Beverlv Warranty Act
 2
                                                 Against all Defendants
 3
           115. Plaintiff incorporates herein by reference each and every allegation contained in the
 4
     preceding and succeeding paragraphs as though herein fiilly restated and re-alleged.
 5
           116. FCA US LLC and its authorized dealership at which Plaintiff purchased the Subject
 6
     Vehicle had reason to know the purpose of the Subject Vehicle at the time of sale of the Subject
 7
     Vehicle. The sale of the Subject Vehicle was accompanied by an implied warranty of fitness.
 8
           117. The sale of the Subject Vehicle was accompanied by an implied warranty that the Subject
 9
     Vehicle was merchantable pursuant to Civil Code section 1792.
10
           118. The Subject Vehicle was not of the same quality as those generally acceptable in the trade
11
     because it was equipped with transmission, electrical, suspension, and engine defects.
12
           119. The Subject Vehicle was not fit for the ordinary purpose for which such goods are used
13
     because it was equipped with transmission, electrical, suspension, and engine defects.
14
           120. The Subject Vehicle did not measure up to the promises or facts stated on the container or
15
     label because it was equipped with transmission, electrical, suspension, and engine defects.
16
           121. Plaintiff is entitled to justifiably revoke acceptance of the Subject Vehicle under Civil
17
     Code section 1794, et seq\ Plaintiff hereby revokes acceptance of the Subject Vehicle.
18
           122. Plaintiff is entitled to replacement or reimbursement pursuant to Civil Code section 1794,
19
     et seq.
20
           123. Plaintiff is entitled to rescission of the contract pursuant to Civil Code section 1794, et
21
     seq. and Commercial Code section 2711.
22
           124. Plaintiff is entitled to recover any “cover” damages under Commercial Code sections
23
     2711, 2712, and Civil Code section 1794, et seq.
24
           125. Plaintiff is entitled to recover all incidental and consequential damages pursuant to 1794
25
     et seq and Commercial Code sections 2711, 2712, and 2713 et seq.
26
     ///
27
     ///
28


                                                       -20-
                                       COMPLAINT FOR DAMAGES
                                          SECOND CAUSE OF ACTION
 1
                         Breach of Express Warranty under Song-Beverlv Warranty Act
 2
                                               Against all Defendants
 3
         126. Plaintiff incorporates herein by reference each and every allegation contained in the
 4
     preceding and succeeding paragraphs as though herein fully restated and re-alleged.
 5
         127. Express warranties accompanied the sale of the vehicle to Plaintiff by which FCA US
 6
     LLC undertook to preser\'e or maintain the utility or performance of Plaintiff’s vehicle or provide
 7
     compensation if there was a failure in such utility or performance.
 8
         128. The vehicle was delivered to Plaintiff with serious defects and nonconformities to
 9
     warranty and developed other serious defects and nonconformities to warranty including, but not
10
     limited to transmission, electrical, suspension, and engine defects.
11
         129. Pursuant to the Song-Beverly Consumer Warranty Act (herein after the "Act") Civil Code
12
     sections 1790 et seq. the vehicle constitutes "consumer goods” used primarily for family or
13
     household purposes, and Plaintiff has used the vehicle primarily for those purposes.
14
         130. Plaintiff is a "buyer" of consumer goods under the Act.
15
         131. Defendant FCA US LLC is a "manufacturer" and/or "distributor" under the Act.
16
         132. The foregoing defects and nonconformities to warranty manifested themselves within the
17
     applicable express warranty period. The nonconformities substantially impair the use, value and/or
18
     safety of the vehicle.
19
         133. Plaintiff delivered the vehicle to an authorized FCA US LLC repair facility for repair of
20
     the nonconformities.
21
         134. Defendant was unable to conform Plaintiffs vehicle to the applicable express after a
22
     reasonable number of repair attempts.
23
         135. Notwithstanding Plaintiff’s entitlement, Defendant FCA US LLC has failed to either
24
     promptly replace the new motor vehicle or promptly make restitution in accordance with the Song-
25
     Beverly Act.
26
         136. By failure of Defendant to remedy the defects as alleged above, or to issue a reftmd or
27
     replacement, Defendant is in breach of its obligations under the Song-Beverly Act.
28
         137. Under the Act, Plaintiff is entitled to reimbursement of the price paid for the vehicle less

                                                      -21-
                                      COMPLAINT FOR DAMAGES
 1   that amount directly attributable to use by the Plaintiff prior to discovery of the nonconformities.
 2         138. Plaintiff is entitled to all incidental, consequential, and general damages resulting from
 3   Defendant’s failure to comply with their obligations under the Song-Beverly Act.
 4         139. Plaintiff is entitled under the Song-Beverly Act to recover as part of the judgment a sum
 5   equal to the aggregate amount of costs and expenses, including attorney's fees, reasonably incurred
 6   in connection with the commencement and prosecution of this action.
 7         140. Plaintiff is entitled in addition to the amounts recovered, a civil penalty of up to two times
 8   the amount of actual damages in that FCA US LLC, has willfully failed to comply with its
 9   responsibilities under the Act.
10   ///

11   ///

12   ///

13   ///

14   ///

15   ///

16   ///

17   ///

18   ///

19   ///

20   ///

21   ///

22   ///

23   ///

24   ///

25   ///

26   ///

27   ///

28   ///



                                                        -22-
                                        COMPLAINT FOR DAMAGES
 1                                          THIRD CAUSE OF ACTION
 2                                     Fraudulent Inducement ~ Concealment
 3                                     Against Defendant FCA US LLC Only
 4       141. Plaintiff incorporates herein by reference each and every allegation contained in the
 5   preceding and succeeding paragraphs as though herein fiilly restated and re-alleged.
 6       142. FCA US LLC concealed a known defect from Plaintiff. The defective component is
 7   called the totally integrated power module (or TIPM). The TIPM consists of a computer, fuses, and
 8   internal relays, and is responsible for controlling and distributing electrical power to the entire
 9   vehicle—everything from steering and brakes, to the alarm, headlights, and the fuel pump.
10       143. Since the TIPM controls power to a wide variety of essential vehicle systems, including
11   safety and security systems, the defect often leaves the vehicles incapable of providing reliable or
12   safe transportation. This defect may cause a vehicle to fail to start (or take dozens of attempts
13   before the engine will turn over) because of the defect, and vehicles start up at other times only to
14   stall, sometimes while traveling at high speeds. The TIPM defect has caused headlights and
15   taillights to suddenly shut off. It has also caused horns to honk, car alarms to sound, and windshield
16   wipers to activate all on their own.
17       144. FCA US LLC intentionally failed to disclose the known TIPM defect, which was known
18   only to it.
19       145. FCA US LLC concealed and suppressed material facts to boost confidence in its vehicles
20   and falsely assure purchasers and lessors of its vehicles that FCA US LLC was a reputable
21   manufacturer that stands behind its vehicles after they are sold and that its vehicles are safe and
22   reliable.
23       146. FCA US LLC’s deceptive omissions infected all purchases and leases of vehicles
24   equipped with the TIPM-7, regardless of whether the vehicles were used or new at the time of
25   acquisition. As early as 2007, FCA US LLC knew of the TIPM defects. FCA US LLC had ample
26   opportunity to communicate to the public, its dealerships, and government regulators in a fashion
27   that would have informed the car-buying public about the TIPM defects in vehicles equipped with
28   the TIMP-7. For example, FCA US LLC could have recalled the vehicles. Plaintiff reasonably,
     justifiably, and detrimentally relied on FCA US LLC’s silence about the TIPM defect when
                                                      -23-
                                      COMPLAINT FOR DAMAGES
 1   deciding whether to purchase or lease a vehicle equipped with a TIPlVI-7, in part because FCA US
 2   LLC was, and still is, in a position of superior knowledge about the TIPM defects. Plaintiff
 3   reasonably trusted that FCA US LLC would not sell a dangerously defective vehicle or fail to recall
 4   those vehicles - or otherwise make widely known that the vehicles were dangerously defective
 5   such that current and prospective owners and lessees could make informed decisions to protect
 6   themselves and their families.
 7       147. FCA US LLC acted with malice and a willful and conscious disregard for the rights and
 8   safety of the Plaintiff and the public in committing these fraudulent acts.
 9       148. FCA US LLC had, and still has, a duty to disclose the TIPM defects because they were
10   known and/or accessible only the FCA US LLC, which had superior knowledge and access to the
11   relevant facts, and because FCA US LLC knew that the relevant facts were not known or
12   reasonably discoverable by Plaintiff.
13       149. Under the National Traffic and Motor Vehicle Safety Act (the “Safety Act”), 49 U.S.C.
14   §§ 30101-30183, FCA US LLC had the duty to disclose the TIPM defects to NHTSA, and by
15   extension and implication to the public. Id. § 30118(c). If FCA US LLC had disclosed the TIPM
16   defects to NHTSA, NHTSA would have made that information public on its websites
17   (www.safecar.gov and www.nhtsa.dot.gov) and its automobile safety telephone hotline.
18       150. FCA US LLC still has not made full and adequate disclosure and continues to defraud
19   Plaintiff by concealing material information regarding the TIPM defects that exist in the Vehicle
20   and the risks posed by those defects.
21       151. FCA US LLC actively concealed and/or suppressed these material facts, in whole or in
22   part, to protect its profits and avoid recalls that would have hurt the brand’s image and cost FCA
23   US LLC money, and it did so at the expense of Plaintiff.
24       152. Because FCA US LLC knew that any reasonable consumer would not purchase a vehicle
25   with a defective TIPM, or would pay only substantially less for that vehicle, and FCA US LLC was
26   concealing material information about the TIPM defects, FCA US LLC must have known that
27   Plaintiff was acting on the basis of mistaken knowledge that their vehicles were safe and reliable
28   when they decided to purchase or lease them at market price (without a discount to reflect that they
     contained a defective TIPM).
                                                      -24-
                                      COMPLAINT FOR DAMAGES
 1         153. Plaintiff could not have discovered the TIPM defect because FCA US LLC kept all
 2   testing information confidential.
 3         154. That FCA US LLC actively concealed an important fact from Plaintiff or prevented her
 4   from discovering that fact.
 5         155. Plaintiff did not know about the TIPM defect.
 6         156. FCA US LLC intended to deceive Plaintiff by continuing to market the vehicle and
 7   concealing the existence of a known TIPM defect which posed major safety concerns.
 8         157. Had the omitted information been disclosed, Plaintiff reasonably would have behaved
 9   differently.
10         158. Plaintiff was harmed.
11         159. FCA US LLC’s concealment of the TIPM defect was a substantial factor in causing
12   Plaintiffs harm.
13         160. The concealment substantially influenced Plaintiff to purchase to Subject Vehicle;
14   Plaintiff would not have purchased the Subject Vehicle had the TIPM defect been disclosed prior
15   to sale.
16         161. The concealed TIPM defect was material.
17   ///

18   ///

19   ///

20   ///

21   ///

22   ///

23   ///

24   ///

25   ///

26   ///

27   ///

28   ///



                                                  -25-
                                         COMPLAINT FOR DAMAGES
 1                                         PRAYER FOR RELIEF
 2              WHEREFORE, Plaintiff prays for judgment against all Defendants, and each of them, as
 3   follows:
 4                A.    For replacement or restitution, at Plaintiffs election, according to proof;
 5                B.    For incidental damages, according to proof;
 6
                  C.    For consequential damages, according to proof;
 7
                  D.    For damages sustained from negligent auto repairs, according to proof;
 8
                  E.    For a civil penalty as provided in Song-Beverly, in an amount not to exceed two
 9
                        times the amount of Plaintiff s actual damages;
10
                  F.    For actual attorney’s fees, reasonably incurred;
11
                  G.    For costs of suit and expenses, according to proof;
12
                  H.    For the difference between the value of the Vehicle as accepted and the value the
13
                        Vehicle would have had if it had been as warranted;
14
                  I.    For remedies provided in Chapters 6 and 7 of Division 2 of the Commercial
15
16                      Code;

17                J.    For pre-judgment interest at the legal rate;

18                K.    For punitive damages according to proof;

19                L.    Such other relief the Court deems appropriate.
20
     Date: April 20, 2020                               THE BARRY LAW FIRM
21
22

23
                                                  Bj:
24                                                      DAVID N. BARRY, ESQ.
                                                        Attorney for Plaintiff,
25                                                      DAVID COX
26
27

28


                                                -26-
                                       COMPLAINT FOR DAMAGES
